Case 2:18-bk-50708       Doc 42    Filed 06/19/18 Entered 06/20/18 14:58:49              Desc Main
                                   Document     Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: June 19, 2018



________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

In Re:   Brian J. Halenar                          :       Case No: 18-50708
         Katie A. Halenar
                                                   :       CHAPTER 13

         Debtor(s)                                 :       Judge C. Kathryn Preston


                        ORDER TO EMPLOYER TO WITHHOLD AND
                       TRANSMIT DEDUCTIONS FROM DEBTOR'S PAY

        Debtor having proposed a plan for the adjustment of debt under Chapter 13 of the
Bankruptcy Reform Act of 1978 (Title 11, United States Code), this Court now comes to establish an
appropriate amount of money to be withheld from debtor's pay in order to facilitate compliance with
the debtor's plan. The employer is not authorized to deduct administrative expenses or service fees
for this deduction. Based upon the foregoing, the debtor's plan, and pursuant to Local Bankruptcy Rule
3015-1(f) and/or 11 U.S.C. §1325(c), it is



         ORDERED that the employer of the debtor deduct the amount indicated below from the
debtor's pay and send that sum along with the debtor's name, case number, and the last 4
digits of their social security number to:

                                    Frank M. Pees, Chapter 13
                                          Dept. 781158
                                         P.O. Box 78000
                                     Detroit, MI 48278-1158
Case 2:18-bk-50708        Doc 42   Filed 06/19/18 Entered 06/20/18 14:58:49           Desc Main
                                   Document     Page 2 of 2




It is further ORDERED that the Chapter 13 Trustee apply the funds to debtor's payment schedule. It
is further ORDERED that pursuant to 11 U.S.C.§1325 deductions shall remain in effect without
further order from this Court, but that the deductions may terminate only upon appropriate notice to
debtor's employer.

                                   Employee: Brian Halenar
                                       SSN: XXX-XX- 4290
                                   Employer: Encore Rehab


                                   Deduction:   $4100.00          Monthly



                                                Weekly:       $946.15
                                                Biweekly:     $1892.31
                                                Semi-Monthly: $2050.00


IT IS SO ORDERED.

Copies to: Default List

Encore Rehab
Attn: Steve Wilkinson
33533 W. 12 Mile Rd., Ste. 290
Farmington, MI 48331


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